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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TRACEY CUNNINGHAM, et al.,                 :
                                           :
      Plaintiffs,                          :
                                           :     CIVIL ACTION
v.                                         :     NO. 1:16-CV-533-RWS
                                           :
FULTON COUNTY, et al.,                     :
                                           :
      Defendants.                          :

                                      ORDER

      The captioned case is before the court for consideration of defendants’ motion

to dismiss plaintiffs’ Second Amended Complaint [37] and plaintiffs’ second motion

for determination of class certification [36].

      I.     Facts

      On February 19, 2016, plaintiffs filed this action alleging that defendants use

a “rollover” scheme to deprive them of pay for accumulated overtime, vacation,

holiday, and sick time. More specifically, plaintiffs allege that under the County’s

policies, the County is unjustly enriched “by rolling over the employee’s

compensatory time, overtime, and vacation time into a category labeled sick time and

then requiring the employee to forfeit all, or part of, the sick time upon leaving.”

(Second Am. Compl. ¶ 38.) In so doing, plaintiffs claim that defendants have

violated the Fair Labor Standards Act (the “FLSA”) and breached contracts. (Id. at
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¶ 1.) Plaintiffs include over five hundred current and former employees of the Fulton

County Sheriff’s Office. They include deputy sheriffs, custodial officers, clerks, and

other non-emergency administrative employees. Plaintiffs’ initial complaint was

against Fulton County, Georgia (the “County”), Fulton County Sheriff Theodore

Jackson (“Sheriff Jackson”), and seven Fulton County Commissioners. Plaintiffs

filed a First Amended Complaint on April 9, 2016.

      On April 15, 2017, defendants filed a motion to dismiss plaintiffs’ complaint,

or, alternatively, a motion for a more definite statement on the grounds that the

original complaint (1) was an improper shotgun pleading; (2) alleged redundant

official capacity claims against individual employees and Fulton County; (3) failed

to identify plaintiffs’ proper employer; and (4) violated the doctrines of sovereign

immunity and Eleventh Amendment immunity. On March 17, 2017, this court

entered an order denying defendants’ motion to dismiss the original complaint as

moot because plaintiffs had amended the complaint (the “Order”). However, in the

Order, the court found, among other things, that the First Amended Complaint was

an impermissible “shotgun pleading” and directed plaintiffs to replead, “carefully

correct[ing] each of the problems identified [in the Order].” (Order at 12.) On March

31, 2017, plaintiffs filed a Second Amended Complaint. On April 21, 2017,

defendants filed their motion to dismiss plaintiffs’ Second Amended Complaint. On

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June 14, 2017, plaintiffs moved to dismiss seven Fulton County Commissioners,

which was granted on July 14, 2017.

      II.    Legal Analysis

             A.     Motion to dismiss

      Defendants assert that plaintiffs’ Second Amended Complaint must be

dismissed because plaintiffs have failed to correct the pleading deficiencies this court

specifically identified in the Order and otherwise have failed to adequately state a

claim against defendants. On a motion to dismiss under Federal Rule of Civil

Procedure 12(b)(6), the complaint’s factual allegations are assumed true and

construed in the light most favorable to the plaintiff. Hardy v. Regions Mortgage,

Inc., 449 F.3d 1357, 1359 (11th Cir. 2006); M.T.V. v. DeKalb County Sch. Dist., 446

F.3d 1153, 1156 (11th Cir. 2006). The rules of notice pleading require only that a

complaint contain “a short and plain statement of the claim showing that the pleader

is entitled to relief.” FED. R. CIV. P. 8(1)(2).

      “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not

need detailed factual allegations, . . . a plaintiff’s obligation to provide the ‘grounds’

of his entitle[ment] to relief requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do. . . .” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). See also Fin.

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Sec. Assurance, Inc. v. Stephens, Inc., 500 F.3d 1276, 1282-83 (11th Cir. 2007)

(though notice pleading does not require specific facts to be pled for every element

of a claim or that claims be pled with precision, “it is still necessary that a complaint

‘contain either direct or inferential allegations respecting all the material elements

necessary to sustain a recovery under some viable legal theory’”) (citations omitted).

“Broad conclusory allegations are inadequate even under the liberal pleading rules

of the Fed. R. Civ. P.” Williams v. Lear Operations Corp., 73 F. Supp. 2d 1377,

1380-81 (N.D. Ga. 1999).

      In addition, Federal Rule of Civil Procedure 41(b) provides that “[i]f the

plaintiff fails . . . to comply with . . . a court order, a defendant may move to dismiss

the action . . . [and] a dismissal . . . operates as an adjudication on the merits.”

Dismissal is appropriate where the plaintiff “fail[s] to make meaningful modifications

to her complaint in order to comply with Rule 8(a)(2) . . . [and] continue[s] to employ

a ‘shotgun approach’ to pleading.” Goodison v. Washington Mut. Bank, 232 F. App’x

922, 922 (11th Cir. 2007) (finding that the district court did not abuse its discretion

in dismissing an amended complaint). In the Order, this court expressly found that

plaintiffs’ First Amended Complaint was a shotgun pleading that failed to connect the

causes of action to the facts alleged and contained vague and redundant counts that

failed to put defendants on notice of the claims against them. (Order at 10.) In

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directing plaintiffs to “carefully correct” the deficiencies identified in the Order, the

court pointed out that “[i]t is particularly important for Plaintiffs to identify their

counts with specificity . . . and to clarify how each Defendant is responsible for each

act alleged.” (Id.) The court warned that if plaintiffs failed “to follow the court’s

instructions in repleading, they risk dismissal.” (Id.)

       While plaintiffs appear to have corrected some of the deficiencies, the Second

Amended Complaint still contains problems. Plaintiffs’ Second Amended Complaint

still includes “ambiguous and repetitive counts” and lumps causes of action into three

ambiguous counts without specifying the cause of action encompassed.1 The

allegations in the Second Amended Complaint, as in the first, lack the specificity by

which each defendant could identify the alleged wrongful conduct for which each

plaintiff is seeking to impose liability. In this regard, dismissal of seven Fulton

County Commissioners does narrow the issues substantially because the only

remaining defendants are Sheriff Jackson and the County. With respect to their

breach of contract claim, plaintiffs have again failed to identify the contract or the

terms and provisions of the contract that they allege are breached, and they have


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          In addition to failing to comply with this court’s order, this also violates Federal Rule of
Civil Procedure 10(b), which generally requires that each claim be stated in a separate count. See
Cesnik v. Edgewood Baptist Church, 88 F.3d 902, 905 (11th Cir. 1996) (noting that the complaint
“was framed in complete disregard of the principle that separate, discrete causes of action should be
plead in separate counts”).

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failed to specify how each defendant breached them. However, plaintiffs have

alleged that “[t]he terms of employment identifying the Plaintiffs’ rights and benefits

are set forth in written policies created and maintained by Fulton County,” that “[t]he

County and Sheriff Jackson violated the terms of the contract,” and that defendants

violated numerous policy provisions. (Second Am. Compl. ¶¶ 18, 23, 25, 67.)

Though plaintiffs have failed to cure all of the deficiencies, nothing in the record

suggests bad faith or motive. Plaintiffs’ Second Amended Complaint “is not a

paragon of notice pleading, but [the court finds that] it is good enough.” Bell v.

Florida Highway Patrol, 325 F. App’x 758, 760 (11th Cir. 2009). Because plaintiffs

have pled “enough [facts] to raise the right to relief above the speculative level,” the

court is reluctant to impose the severe sanction of dismissal for failure to comply with

this court’s order. Twombly, 550 U.S. at 555.

      Defendants then argue that, even if the court were to allow this case to proceed,

the County and Sheriff Jackson must be dismissed as a matter of law. Actions for

money damages against states or state officials acting in their official capacities are

barred by the Eleventh Amendment. Manders v. Lee, 338 F.3d 1304, 1311 (11th Cir.

2003). “The Eleventh Amendment applies not only to the state, but to a defendant

who acts as an “arm of the state.” Kicklighter v. McIntosh County Board of Comm’rs,

694 F. App’x 711, 714 (11th Cir. 2017). “[W]hether a defendant is an ‘arm of the

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state’ must be assessed in light of the particular function in which the defendant was

engaged when taking the action out of which the liability arose.” Dukes v. Georgia,

428 F. Supp. 2d 1298, 1318 (N.D. Ga. 2006). In Manders, the Eleventh Circuit

articulated four factors to be applied in determining whether a state entity is an ‘arm

of the state’: “(1) how State law defines the entity; (2) what degree of control the

State maintains over the entity; (3) where the entity derives its funds; and (4) who is

responsible for judgments against the entity.” Manders, 338 F.3d at 1309.

      Plaintiffs are suing Sheriff Jackson in his official capacity. (Second Am.

Compl. ¶ 9.) The function at issue in this action is the compensation of employees

under the FLSA. The first Manders factor weighs in favor of immunity when the

authority to engage in the function at issue is derived from the State. In Georgia, a

sheriff “is an elected, constitutional officer; he is subject to the charge of the General

Assembly and not an employee of the county commission.” Randolph County v.

Wilson, 260 Ga. 482, 482 (1990). Sheriffs in Georgia derive their duties and power

from the Sate, are independent from the counties that they serve, and derive their

authority to make employment decisions from the State. Pellitteri v. Prine, 776 F.3d

777, 780 (11th Cir. 2015). Consequently, the first factor weighs in favor of finding

that Sheriff Jackson in his official capacity is an “arm of the State.”




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       The second factor weighs in favor of immunity because the State of Georgia

exercises substantial control over a sheriff’s personnel decisions through the

governor’s power to discipline a sheriff for misconduct and mandatory annual

trainings. Manders, 338 F.3d at 1309. In addition, “the State of Georgia exercise[s]

a great deal of control over the hiring and firing of deputy sheriffs, especially through

the certification process for peace officers . . . including deputy sheriffs.” Pellitteri,

776 F.3d at 781. The third factor in the Eleventh Amendment analysis does not

weigh against immunity because, even though the county bears the major burden of

providing funds to the sheriff’s office, including the salaries of the sheriff and his

deputies, it is the State that mandates that counties set a budget for the sheriff’s office.

Manders, 338 F.3d at 1323 (citing O.C.G.A. §§ 36-9-5, 42-5-2(a), 15-16-20, 45-4-7).

Moreover, “although each county sets the total budget for the sheriff’s office, it

cannot dictate how the sheriff spends those funds.” Pellitteri, 776 F.3d at 782. The

final factor, however, weighs against immunity because “any adverse judgment

against Sheriff [Jackson] will be paid out of the budget of the [Fulton] County

Sheriff’s Office, which is composed of both County and State funds.” Id. “[T]o the

extent that the state treasury will be spared . . . from paying any adverse judgment,

this factor weighs in favor of denying immunity.” Id. As the Eleventh Circuit




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concluded,2 so this court concludes that on balance, Sheriff Jackson, in his official

capacity, was acting as an “arm of the State” when exercising his power in the

Sheriff’s office to make compensation decisions.

       This conclusion is supported by the holdings of the Eleventh Circuit. In

Manders, the court held that a Georgia sheriff was an arm of the State “in establishing

use-of-force policy at the jail and in training and disciplining his deputies in that

regard.” Manders, 338 F.3d at 1328. In Pellitteri, the court held that a Georgia

sheriff was an arm of the State entitled to Eleventh Amendment immunity for

wrongful terminations claims brought against him in his official capacity under §

1983 and the Americans with Disabilities Act. Pellitteri, 776 F.3d at 783. Both of

these cases, like this case, concern employment-related decisions (i.e., hiring,

assignment, and compensation). Compensation is a function of “employee-related

decisions.” Walker v. Jefferson County Bd. of Educ., 771 F.3d 748, 757 (11th Cir.

2014). “Despite being distinguishable, [functions of hiring, firing, and compensation

of employees] have been treated as one for purposes of the Manders inquiry.”

Kicklighter v. Goodrich, 162 F. Supp. 3d 1363, 1376 (S.D. Ga. 2016), aff’d 694

F.App’x 711 (11th Cir. 2017) (holding that a county clerk sued in her official capacity


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           In Pellitteri, the Eleventh Circuit found that the first three Manders factors weighed in
favor of finding that the sheriff was a state actor and thus entitled to Eleventh Amendment immunity
even though the fourth factor weighted against immunity. Pellitteri, 776 F.3d at 783.

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was “protected against Plaintiff’s FLSA claim for damages” because the Manders

analysis weighed in favor of immunity in the context of § 1983 claims against her).

Accordingly, Sheriff Jackson in his official capacity is entitled to Eleventh

Amendment immunity.

      Defendants next assert that plaintiffs’ FLSA claims against the County must

be dismissed because the County is not plaintiffs’ employer.           “[P]laintiffs’

employment-based claims against the County fail if there was no employer-employee

relationship.” Kicklighter, 694 F. App’x at 713. Under the FLSA, an “employee” is

defined as “any individual employed by an employer.” 29 U.S.C. § 203(e)(1). An

“employer” includes “any person acting directly or indirectly in the interest of an

employer in relation to an employee and includes a public agency.” 29 U.S.C. §

203(d). To “employ” is defined as to “suffer or permit to work.” 29 U.S.C. § 203(g).

The Supreme Court has held that a judicial determination regarding an employment

relationship under the FLSA should be assessed in light of the “economic reality” of

the relationship between the parties. Villareal v. Woodham, 113 F.3d 202, 205 (11th

Cir. 1997). The economic reality test considers: “whether the alleged employer (1)

had the power to hire and fire the employees, (2) supervised and controlled employee

work schedules or conditions of employment, (3) determined the rate and method of

payment, and (4) maintained employment records.” Id.

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      It is well established in Georgia that a Sheriff, not the county, employs his or

her deputies. See Manders, 338 F.3d at 1311. In Georgia, the sheriff’s office is a

separate, constitutionally created entity that is independent from the county. Ga.

Const. art. IX, § 2, ¶ 1(c)(1). “In Georgia, . . . [a] County does not, and cannot, direct

the Sheriff how to . . . hire, train, supervise, or discipline his deputies, what policies

to adopt, or how to operate his office.” Grech v. Clayton County, Georgia, 335 F.3d

1326, 1347 (11th Cir. 2003). “Georgia’s Constitution . . . prevents counties from

taking any action affecting any elective county office or the personnel thereof.”

Manders, 338 F.3d at 1323-24 (citing Ga. Const. art. IX, § 2, ¶ 1(c)(1)). Sheriff

Jackson was a constitutionally-elected officer. The Georgia Supreme Court has stated

that “employees of constitutionally elected officers of a county are considered

employees of the elected officer and not employees of the county.” Boswell v.

Bramlett, 274 Ga. 50, 51 (2001). Where, as here, a sheriff acts as an arm of the State,

his acts are not attributable to the county. Grech, 335 F.3d at 1347. Plaintiffs have

not alleged any facts to support the conclusion that the County is an “employer”

under the FLSA. See Kicklighter, 162 F. Supp. 3d at 1377 (holding that McIntosh

County is not an employer for FLSA purposes). Accordingly, plaintiffs’ FLSA claims

against the County must be dismissed.




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        Defendants then assert that plaintiffs’ claims for declaratory and injunctive

relief are barred by the doctrine of sovereign immunity. Under the Constitution of the

State of Georgia, “sovereign immunity extends to the state and all of its departments

and agencies,” and “can only be waived by an Act of the General Assembly which

specifically provides that sovereign immunity is thereby waived and the extent of the

waiver.” Ga. Const. art. I, § 2, ¶ 9(e). See DeKalb County v. Kirkland, 329 Ga. App.

262, 265 (2014). The Georgia Supreme Court has held that “departments and

agencies” of the State include counties, which are thus entitled to sovereign immunity

from suits in accordance with this constitutional provision. Rutherford v. DeKalb

County, 287 Ga. App. 366, 367 (2007). “Under Georgia law, sovereign immunity is

an immunity from suit . . . and . . . whether a governmental defendant has waived its

sovereign immunity is a threshold issue.” Bd. of Comm’rs of Glynn County v.

Johnson, 311 Ga. App. 867, 869 (2011) (internal citation omitted). Plaintiffs have

the burden of establishing that sovereign immunity has been waived. Kirkland, 329

Ga. App. at 265. There is no allegation that sovereign immunity has been waived as

to plaintiffs’ claims for declaratory and injunctive relief. Accordingly, these claims

must be dismissed.3 See Georgia Dept. of Natural Resources v. Center for a


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         In addition, “the right to bring an action for injunctive relief under the Fair Labor Standards
Act rests exclusively with the United States Secretary of Labor.” Powell v. State of Florida, 132
F.3d 677, 678 (11th Cir. 1998) (citing 29 U.S.C. §§ 211(a), 216(b) (1994)).

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Sustainable Coast, Inc., 294 Ga. 593, 603 (2014) (holding that “sovereign immunity

bars [plaintiff]’s claim for injunctive relief against the State”).

       The court notes, however, that the Georgia Constitution has expressly waived

the State’s sovereign immunity for “any action ex contractu for the breach of a written

contract.” Fulton County v. Lord, 323 Ga. App. 384, 389 (2013). Here, plaintiffs

allege that defendants “violated the terms of the contract” and that “[t]he terms of

employment identifying the Plaintiffs’ rights and benefits are set forth in written

policies created and maintained by Fulton County.” (Second Am. Compl. ¶¶ 67, 18.)

Plaintiffs insist that “there was a written contract of agreement.”4 (Pls.’ Resp. to Mot.

to Dismiss Second Am. Compl. 5.) As set forth above, plaintiffs’ Second Amended

Complaint contains deficiencies, including the failure to identify the precise

provisions of the “contract” that defendants are alleged to have breached. However,

liberally construing plaintiffs’ Second Amended Complaint and considering their

allegations in the light most favorable to them, the court cannot conclude that

plaintiffs have failed to state a claim. See Bell v. Florida Highway Patrol, 325 F.


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           In paragraph 16 of the Second Amended Complaint, plaintiffs allege that “they are
employees of Fulton County.” In paragraphs 41 and 42, plaintiffs allege that the “County” and the
“Sheriff’s Department” are employers under the FLSA and are required to pay plaintiffs their
overtime pay. In the following two paragraphs, plaintiffs allege that “Defendants” pay plaintiffs
compensatory pay in lieu of overtime and that by rolling over compensatory time into sick leave
“Defendants are not paying the employees their pay and/or their overtime.” (Second Am. Compl.
¶¶ 41-44.)

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App’x 758, 760 (11th Cir. 2009). Accordingly, the court will not dismiss plaintiffs’

breach of contract claim against the County at this time. In sum, all claims are hereby

dismissed except for plaintiffs’ breach of contract claims against the County.

             B.     Motion to Certify Class

      Plaintiffs seek an order certifying this case as an FLSA collection action

pursuant to 29 U.S.C. § 216(b). In denying plaintiffs’ previous motion for class

certification, the court advised plaintiffs that an FLSA collective action, rather than

a class action pursuant to Federal Rule of Civil Procedure 23, would be more

appropriate in this case. (Order at 7-8.) In light of the above rulings dismissing

plaintiffs’ FLSA claims, however, the appropriate class certification would be under

Federal Rule of Civil Procedure 23. Accordingly, plaintiffs’ motion for an FLSA

class action certification is hereby denied.

      With regard to class certification pursuant to Federal Rule of Civil Procedure

23, Local Rule 23.1 provides, in relevant part:

      The plaintiff shall move within ninety (90) days after the complaint is
      filed for a determination under Fed. R. Civ. P. 23(c)(1) as to whether the
      suit may be maintained as a class action. Notwithstanding the
      foregoing, in any class action . . . in which one or more defendants have
      filed a motion to dismiss pursuant to Fed. R. Civ. P. 12 in lieu of an
      answer to the complaint . . . the plaintiff shall move for a determination
      under Fed. R. Civ. P. 23(c)(1) within thirty (30) days after all defendants
      have filed an answer to the complaint.



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LR 23.1, NDGa. Because none of the defendants have filed an answer in this case,

plaintiffs’ motion for class certification is premature. See Gross v. Medaphis Corp.,

977 F.Supp. 1463, 1475 (N.D. Ga. 1997) (denying motion for class certification

before class discovery as premature). Accordingly, the court hereby denies plaintiffs’

motion for class certification without prejudice.

      III.   Conclusion

      For the foregoing reasons, the court hereby GRANTS in part and DENIES

in part defendants’ motion to dismiss plaintiffs’ Second Amended Complaint [37]

and DENIES without prejudice plaintiffs’ second motion for determination of class

certification [36]. The parties are ORDERED to file their Initial Disclosures and a

Joint Preliminary Report and Proposed Discovery Plan within fourteen days.

      IT IS SO ORDERED, this 8th day of November, 2017.



                                        ________________________________
                                        RICHARD W. STORY
                                        United States District Judge




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